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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                      Chapter 7

    THE ART INSTITUTE OF                        Case No. 18-11535 (CTG)
    PHILADELPHIA LLC, et al.,
                                                Jointly Administered
             Debtors.


    GEORGE L. MILLER, Chapter 7
    Trustee,
                                                Adv. Pro. No. 20-50627 (CTG)
             Plaintiff,
                                                Related Docket Nos. 40, 42, 45, 48
             v.

    TODD S. NELSON, et al.,

             Defendants.


                                MEMORANDUM OPINION

             Debtor Education Management Corporation1 and its affiliates ran for-profit

colleges. The basic allegation in the complaint filed by the chapter 7 trustee is that

after a 2006 leveraged buyout, the debtors implemented a series of aggressive

recruiting practices designed to increase enrollment (and thus revenue) without

regard for the students’ qualifications.        It is further alleged that the debtors

established compensation systems that encouraged such aggressive recruiting

practices. These practices were alleged to violate various state and federal laws

governing for-profit colleges. Following a series of governmental investigations and




1   Debtor Education Management Corporation is referred to herein as “EDMC.”
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qui tam actions, the complaint alleges that the debtors were forced to pay fines,

penalties, and settlements that led to the destruction of their business.

      Facing financial distress, the debtors closed or sold its various schools in 2016

and 2017, before filing chapter 7 bankruptcy cases in June 2018. George L. Miller,

the chapter 7 trustee in these cases, has filed this lawsuit against ten former officers

and directors of the debtors. He contends, in a series of counts the parties refer to as

the “management claims,” that defendants’ management of the schools (including

implementing and leaving in place the allegedly unlawful recruiting and

compensation programs) breached the defendants’ fiduciary duties, was fraudulent,

and amounted to an unlawful civil conspiracy. Miller also claims, in a series of counts

that the parties refer to as the “payment claims,” that the compensation paid to the

defendants constitutes unjust enrichment, corporate waste, and is avoidable in

bankruptcy on preference and fraudulent conveyance theories.

      The central theme of the complaint is that the debtors’ business was a

fundamentally fraudulent one.      Rather than alleging that particular defendants

engaged in specific acts that give rise to liability, the trustee emphasizes that each of

the defendants participated in the operations of a business that is alleged to be little

more than a scam. He contends that such allegations provide the defendants with

ample notice of the claims asserted against them and insists that the rest should be

for a jury to sort out. Upon the filing of a motion to dismiss, however, the Court’s

task is to assess whether the factual allegations of the complaint (which are accepted




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as true with reasonable inferences drawn in favor of the plaintiff) give rise to causes

of action under the legal theories asserted.

                                         * * *

      Management Claims.        By way of overview, as explained in Part I of this

Memorandum Opinion, the complaint’s allegation that the defendants knowingly

engaged in unlawful conduct that ultimately led to the destruction of the company is

sufficient to state a claim for breach of fiduciary duty. With respect to the defendants’

argument that this claim is barred by the statute of limitations, because this suit was

filed within two years of the order for relief, under section 108 of the Bankruptcy Code

any claim that could have been asserted by the debtor at the time of the bankruptcy

filing is timely, whereas any claim that had expired as of the petition date is not. And

by virtue of the internal affairs doctrine, the Court concludes that Delaware’s three-

year statute of limitations applies to the claims for breach of duties running to legal

entities organized under Delaware law while Pennsylvania’s two-year statute of

limitations applies to the claims of breach of fiduciary duty running to entities

organized under Pennsylvania law.

      While there may be some room to argue around the margins over exactly when

a claim for breach of fiduciary duty arises, it is clear that such a claim has arisen (and

the statute has begun to run) once the act or omission that is alleged to constitute the

breach had occurred and the consequences of that act were revealed to the public.

Here, the complaint itself alleges that all of that had happened as of June 29, 2015 –

three years before the bankruptcy filing. As a result, breach of fiduciary duty claims



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against those defendants who were no longer in a fiduciary role as of that date are

time-barred.

      As for those defendants who served in a fiduciary capacity within the period

covered by the statute of limitations, despite the fact that the complaint alleges that

the debtors’ business was in wind-down mode for most of this period (which certainly

raises questions about how breaches alleged to have occurred in this period caused

injury to the debtor), the Court concludes that the allegations of the complaint are

sufficient to survive a motion to dismiss.

      Even as to those claims that are not barred by the statute of limitations, the

defendants argue that, because similar claims were the subject of pre-bankruptcy

shareholder lawsuits, under the doctrine of claim preclusion the dismissal of those

cases bars the trustee’s lawsuit. It does not. A court may dismiss a derivative lawsuit

on the ground that the special committee determined not to pursue the claim after a

thorough and independent analysis, without itself adjudicating the merits of the

underlying claim. The dismissal of derivative actions brought against EDMC, in

which shareholders sought to assert fiduciary duty claims against directors and

officers, therefore does not give rise to claim preclusion that would bar the trustee

from asserting such a claim on the debtors’ behalf.           With respect to the other

preclusion defenses asserted by the defendants, such as issue preclusion and judicial

estoppel, the Court concludes that those defenses, in the circumstances of this case,

would require an assessment of extrinsic material that is not subject to judicial notice,

and thus are not properly addressed on a motion to dismiss.



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       As Part II explains, the claim for common law fraud fails because, on the facts

alleged, there is no allegation that the debtor (as opposed to the government) suffered

injury as a result of its reliance on a misrepresentation made by the debtor. And as

set forth in Part III, except as they relate to the surviving claims for breach of

fiduciary duty, the claim for civil conspiracy fails in the absence of another live claim

for an underlying tort or other cause of action.

       Payment Claims. Except for the claim for constructive fraudulent conveyance,

the payment claims will also be dismissed without prejudice. Part IV explains that

the claims for corporate waste and unjust enrichment require a showing that

corporate assets were irrationally squandered. The complaint here, however, alleges

that the payments to the defendants were made pursuant to employment agreements

for services actually provided. It is therefore insufficient to state a claim for corporate

waste or unjust enrichment. Nor does the complaint plead fraud with the specificity

necessary to assert a claim for intentional fraudulent conveyance.

       Part V addresses the claim for constructive fraudulent conveyance. Despite

the allegation in the complaint that the payment was made under an employment

agreement, one cannot discern from the allegations of the complaint itself whether

each payment in fact satisfied a specific legal obligation of the debtor to pay, or

whether some of the payments reflected discretionary decisions of the debtor.

Because the latter could give rise to a claim of constructive fraudulent conveyance,

this count cannot be dismissed under the Rule 12(b)(6) standard.




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          Finally, as set forth in Part VI, the preference claim fails because the complaint

does not identify which debtors made any of the transfers sought to be avoided as

preferences, which this Court’s precedents require.

                           Factual and Procedural Background

          The debtors were in the business of providing post-secondary education

through for-profit learning institutions.2 The debtors’ corporate structure consisted

of an ultimate parent company, EDMC, a Pennsylvania corporation; four holding

companies, all Delaware corporations; and numerous operating entities, consisting of

various learning institutions that were wholly owned by the Delaware holding

companies.3

          For-profit colleges have been the subject of intense public controversy and

governmental scrutiny since at least 2010.4 A Senate Committee report released in

2012, for example, found that EDMC and other for-profit colleges employed

recruitment and enrollment practices, designed to attract federal student loan

proceeds, that violated various governmental regulations. The report found, for

example, that EDMC and other for-profit colleges misled students about the cost of

tuition, the quality of their academic programs, and the likelihood of obtaining post-

graduation employment.5 It also asserted that EDMC improperly compensated its



2 D.I. 1 ¶ 2. As Fed. R. Civ. P. 8(a) (made applicable hereto by Fed. R. Bankr. P. 8) requires,
the facts set forth herein are based on the allegations in the complaint, which are taken as
true for the purpose of considering a motion to dismiss for failure to state a claim.
3   D.I. 1 ¶ 10.
4   Id. ¶¶ 56-60.
5   Id. ¶ 60.

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admission staff in violation of certain regulations.6 All the while, the complaint

alleges, EDMC was regularly certifying to the Department of Education that it did

no such thing.7

          EDMC was also subject to qui tam actions alleging that the company’s policies

for compensating its admissions and recruitment staff were intentionally designed to

encourage its staff to recruit students (and thus to attract the accompanying federal

student loan dollars) without regard to the likelihood that the students would benefit

from the schools’ educational programs.8 EDMC entered into a settlement with the

U.S. Department of Justice and several other governmental entities that were

investigating EDMC in November 2015.9 The settlement required EDMC to pay

$95.5 million to various state and federal entities and to forgive more than $100

million in student loans that the company had made.10

          In January 2016, the debtors began to wind down their operations and to

liquidate substantially all of their assets.11 The debtors sold some of its campus

properties to third-party purchasers and implemented “teach-out”12 plans in




6   Id.
7   Id. ¶¶ 85-86.
8   Id. ¶¶ 61, 65, ¶¶ 67-69.
9   Id. ¶¶ 72, 117.
10   Id. ¶¶ 72, 119; see also id., Exh. D (Settlement Agreement).
11   Id. ¶¶ 123-29.
12 “A teach-out plan is a written course of action a school will take to ensure its students are
treated fairly with regard to finishing their programs of study.” Federal Student Aid,
https://studentaid.gov/help-center/answers/article/what-is-teach-out-plan-and-must-i-accept
(last visited Oct. 5, 2021).

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anticipation of permanent closures of the remaining locations.13 The complaint also

alleges, however, that the allegedly fraudulent certifications continued throughout

this period and indeed “through and beyond” the petition date in these bankruptcy

cases.14

          During the company’s liquidation, several of the defendants, who were at the

time actively employed as members of the debtors’ boards, were compensated in

amounts ranging from $262,000 to as much as $13 million.15

          On June 29, 2018, each of the debtors filed for bankruptcy under chapter 7 of

the Bankruptcy Code.16 George Miller was thereafter appointed as the chapter 7

trustee.         On June 17, 2020, Miller filed this adversary proceeding against ten

defendants, each of whom is alleged to have served as an officer or director of EDMC

and/or one or more of the Delaware holding companies.17 Each of the defendants has

moved to dismiss the complaint for failure to state a claim.               This Court heard

argument on the motions on October 13, 2021.

                                        Jurisdiction

          Certain of the claims (in this case those for preference and fraudulent

conveyance) arise under the Bankruptcy Code and are thus within the district court’s



13   D.I. 1 ¶¶ 123–129.
14   Id. ¶ 90.
15   Id. ¶¶ 135-141 & Exh. G–J.
16   Id. ¶ 9.
17The allegations in the complaint are limited to the defendants’ roles as officers or directors
of EDMC and/or one or more of the Delaware holding companies. The complaint does not
allege that any of the defendants served as an officer or director of any of the underlying
operating entities.

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“arising under” jurisdiction set out in 11 U.S.C. § 1334(b).18 The common-law claims

are within section 1334(b)’s “related to” jurisdiction because the resolution of those

claims would have a “conceivable effect” on the estate.19 These cases have been

referred to this Court under 28 U.S.C. § 157(a) and the February 29, 2012, Standing

Order of the U.S. District Court for the District of Delaware.20

                                          Analysis

       The Court’s task when considering a motion to dismiss is to determine whether

the complaint’s factual allegations are sufficient to state the claims alleged.21 Under

Federal Rule 8(a)(2) (made applicable to this proceeding by Bankruptcy Rule 7008),

a complaint must contain a “short and plain statement of the claims showing that the

pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2).22 The purpose of this rule is to




18In re Atamian, 368 B.R. 375, 379 (Bankr. D. Del. 2007) (citing Stoe v. Flaherty, 436 F.3d
209, 216 (3d Cir. 2006)).
19In re Fairchild Corp., 452 B.R. 525, 530 (Bankr. D. Del. 2011) (citing Pacor v. Higgins, 743
F.2d 984, 994 (3d Cir. 1984)).
20 Fed. R. Bankr. P. 7008 requires that a complaint in an adversary proceeding “contain a
statement that the proceeding is core or non-core and, if non-core, that the pleader does or
does not consent to the entry of final orders or judgment by the bankruptcy judge.” The
complaint states that the trustee does not consent to the entry of judgment but does not
contain an allegation whether the proceeding is core or non-core. To the extent the trustee
intends to file an amended complaint, the trustee is directed to comply with the rule. If the
trustee intends to proceed on the existing complaint, the trustee should file a statement on
the docket indicating whether the trustee alleges that the count for breach of fiduciary duty
is core or non-core. The running of the 14-day period for the defendants to answer the
complaint following the disposition of these motions, set forth in Fed. R. Civ. P. 12(a)(4)(A),
shall be tolled until the trustee makes such a filing.
21In re DBSI, Inc., 447 B.R. 243, 246 (Bankr. D. Del. 2011); Kost v. Kozakiewicz, 1 F.3d 176,
183 (3d Cir. 1993).
22See also Connelly v. Lane Construction Corp., 809 F.3d 780, 786 (3d Cir. 2016) (highlighting
that a complaint can be dismissed for failing to state a claim, but that generally “detailed
pleading” is not required).

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provide the defendant with fair notice of the claims alleged against him such that he

can adequately defend himself against those claims.23 A motion to dismiss is an

attack on the sufficiency of the allegations in a complaint, which are taken as true,

with all reasonable inferences therefrom drawn in favor of the non-moving party.24

The factual allegations in a complaint need not be detailed but must provide notice

to the defendant “as to the basics of the complaint” and set forth fact-based allegations

that stretch beyond “naked assertions” and conclusory allegations.25 Under Rule 9(b),

however, allegations of fraud must be pled with particularity.26

I.       The complaint adequately states a claim for breach of fiduciary duty
         against the defendants alleged to have been directors or officers at
         any period within the three years before the petition date.

         The claim for breach of fiduciary duty raises three substantive issues – first,

whether the complaint adequately alleges facts sufficient to state a claim; second,

whether, based on the facts as alleged, the claim is subject to a valid statute of

limitations defense; and third, whether the claim is barred under principles of

preclusion or estoppel. All of these issues, however, are subject to the logically

antecedent question of which jurisdiction’s law will govern.                 The Court will




23In re Zohar III, No. 18-10512 (KBO), 2021 Bankr. LEXIS 1947, at *13 (Bankr. D. Del. Jul.
23, 2021) (citing In re Lexington Healthcare Grp., Inc., 339 B.R. 570, 575 (Bankr. D. Del.
2006)).
24   Bohus v. Restaurant.com, Inc., 784 F.3d 918, 921 n.1 (3d Cir 2015).
25Ashcroft v. Iqbal, 556 U.S. 662, 678 (2008) (citing Bell Atlantic Corp. v. Twombly, 550 U.S.
544, 557 (2007)).
26See Fed. R. Civ. P. 9(b) (“In alleging fraud or mistake, a party must state with particularity
the circumstances constituting fraud or mistake.”).

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accordingly address that choice-of-law issue first, before turning to the three

substantive issues.

          A.      The internal affairs doctrine applies to the breach of fiduciary
                  duty claim.

          The parties disagree about which jurisdiction’s law applies to the claims of

breach of fiduciary duty. The trustee argues that the operating entities that engaged

in the alleged wrongful practices were each owned by one of four Delaware holding

companies and that Delaware law should therefore apply to the fiduciary duty

claims.27 The defendants contend that because the alleged harms were ultimately

sustained by EDMC, which was based in Pennsylvania and incorporated under

Pennsylvania law, Pennsylvania law should apply.28

          The Court notes at the outset that even the question of whose choice-of-law

principles should apply is subject to disagreement. When disputes that are governed

by state law are heard in bankruptcy court because they are within the related-to

jurisdiction, several decisions of this Court state that the court should apply

Delaware choice-of-law principles, as those governing in the jurisdiction in which this




27   D.I. 58 at 26.
28   D.I. 46 at 13-14.

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Court sits, to decide what substantive law controls.29 Indeed, in an unpublished

opinion, the Third Circuit has followed precisely that approach.30

          On the other hand, Judge Sontchi has pointed out that this reasoning – looking

to the forum state’s choice-of-law principles – is fundamentally the approach that the

Supreme Court set forth in Klaxon,31 which by its terms was addressed to the

diversity jurisdiction of 28 U.S.C. § 1332.32 And it is by no means self-evident that

the principles of Klaxon (which point to the forum state’s choice-of-law rules) are

applicable where a case is in federal court by virtue of bankruptcy rather than

diversity jurisdiction.33        For this reason, Judge Sontchi explained in Welded


29In re Essar Steel Minn. LLC, No. 16-11626 (BLS) 2019 Bankr. LEXIS 1622, at *11 (Bankr.
D. Del. May 23, 2019) (applying Delaware choice of law rules); In re Integrated Health Servs.
Inc., 304 B.R. 101, 106 (Bankr. D. Del. 2004) (applying Delaware choice of law rules because
Delaware is the “forum state”); In re Circle Y, 354 B.R. 349, 359 (Bankr. D. Del. 2006) (same).
30In re PHP Healthcare, 128 Fed. Appx. 839, 843 (3d Cir. 2005) (citing In re Merritt Dredging
Co., 839 F.2d 203, 206 (4th Cir. 1988) (applying the choice of law rules of the forum state, i.e.,
the state in which the bankruptcy court sits).
31   Klaxon Co. v. Stentor Electric Mfg. Co., Inc., 313 U.S. 487 (1941).
32 See In re Welded Construction, L.P., 616 B.R. 649, 657 (Bankr. D. Del. 2020); In re LMI
Legacy Holdings, Inc., No. 13-12098 (CSS), 2017 WL 1508606, at *4–5 (Bankr. D. Del. Apr.
27, 2017). While Judge Sontchi suggested that the uncertainty is whether Klaxon applies to
cases within the “federal question” jurisdiction, the undersigned views the uncertainty as
narrower than that. Cases that fall within 28 U.S.C. § 1331’s “federal question” jurisdiction
do not present choice-of-law problems – federal law supplies the rule of decision. See Mims
v. Arrow Financial Services, LLC, 565 U.S. 368, 387 (2012) (“[f]ederal courts have § 1331
jurisdiction over claims that arise under federal law [and for which] … federal law … specifies
the substantive rules of decision”). As Judge Sontchi correctly noted, however, the choice-of-
law problem arises only when a federal court exercises jurisdiction over a case that that is
governed by a law other than federal law, such as state law, as is commonly the case when
state-law matters fall within the bankruptcy court’s related-to jurisdiction.
33Note also that the case for applying a federal choice-of-law rule may be stronger in claims
allowance disputes governed by underlying state law, which ultimately involve whether the
claim is “unenforceable” within the meaning of 11 U.S.C. § 502(b)(1). In a brief filed at the
invitation of the Supreme Court, the United States took the position that in the claims
allowance context, a federal choice of law rule should apply. See Brief of the United States as
Amicus Curiae, Sterba v. PNC Bank, S. Ct. No. 17-423 at 6 (brief available at:
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Construction and LMI Legacy Holdings, that the Delaware choice-of-law rules would

presumptively apply, with that presumption subject to being rebutted if an overriding

federal interest pointed to the application of a federal principle.34

          In fact, there is an express circuit split on this question. As noted above, the

Third Circuit has addressed the matter only in its unpublished opinion in PHP

Healthcare, which under the Third Circuit’s Internal Operating Procedures is not

viewed as precedential.35 The Ninth Circuit, however, has broadly held that in cases

within the bankruptcy jurisdiction “the court should apply federal, not forum state,

choice of law rules.”36 Courts applying federal choice of law rules typically look to the

approach set forth in the Restatement (Second) of Conflict of Laws as setting forth the

governing choice-of-law principle.37 The Second and Fourth Circuits, on the other

hand, have applied the forum state’s choice-of-law rules.38


https://www.supremecourt.gov/DocketPDF/17/17-423/47241/20180517141645673_17-
423%20Sterba%20-%20AC%20Pet.pdf). The United States’ brief pointed to the conflicting
decisions, but did not take a position, on the choice of law principle that should govern when
a case is heard in bankruptcy court under the related-to jurisdiction. Id. at 14-17.
34 By way of analogy, Judge Silverstein recently pointed to the differences between the
diversity jurisdiction and related-to jurisdiction under section 1334(b) in finding that the
“well-pleaded complaint rule” is not applicable to cases under the bankruptcy jurisdiction.
See In re Seaboard Hotel Mbr. Assocs., LLC, No. 19-50257 (LSS) 2021 Bankr. LEXIS 1564, at
*17–19 (Bankr. D. Del. June 10, 2021).
35   See Third Circuit Internal Operating Procedure §§ 5.3; 5.7.
36   Lindsay v. Beneficial Reinsurance Co., 59 F.3d 942, 948 (9th Cir. 1995).
37   In re Vortex Fishing Systems, Inc., 277 F.3d 1057, 1069 (9th Cir. 2002).
38In re Merritt Dredging Co., 839 F.2d 203, 206 (4th Cir. 1988); In re Gaston & Snow, 243
F.3d 599, 606 (2d Cir. 2001). The Fifth, Sixth and Seventh Circuits have considered but
declined to resolve this issue. See In re Mirant Corp., 675 F.3d 530, 537–538 (5th Cir. 2012);
In re Miller, 513 Fed. Appx. 566, 572 (6th Cir. 2013); In re Jafari, 569 F.3d 644, 650–651 (7th
Cir. 2009). See also In re Global Indus. Technologies, Inc., 333 B.R. 251, 256–257 (Bankr.
W.D. Pa 2005) (also declining to choose a choice-of-law principle because both led to the same
result).

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         This case, however, presents no occasion for this Court to decide whose choice-

of-law rules apply, since application of either the Restatement approach or Delaware

law would lead to the same result. Under the internal affairs doctrine, which is the

governing choice-of-law principle under both Delaware law and the Restatement

approach, the law of the state under whose laws a legal entity is organized governs

the fiduciary duties of that entity’s officers and directors.39 So while the parties brief

the issue on the premise that a single jurisdiction’s laws will apply to all of the breach

of fiduciary claims, the Court concludes that this premise is incorrect. Rather, under

the internal affairs doctrine, and in view of bankruptcy law’s respect for the corporate

form,40 the law of the state in which each entity is incorporated governs claims of

breach of fiduciary duties running to that corporation.

         Accordingly, Delaware law applies to claims alleging breach of the fiduciary

duties owed to Delaware entities and Pennsylvania law applies to claims alleging

breach of the fiduciary duties owed to Pennsylvania entities. And while, as described

below in Part I.C, the question of which statute of limitations is applicable introduces

a further complication, the ultimate punchline conclusion is the same – because the




39In re Mervyn’s Holdings, LLC, 426 B.R. 488, 501 (Bankr. D. Del. 2010) (applying state of
incorporation to claim for breach of fiduciary duty); Minn. LLC, No. 16-11626 (BLS), 2019
Bankr. LEXIS 1622, at *9 (Bankr. D. Del. May 23, 2019) (citing VantagePoint Venture
Partners 1996 v. Examen, Inc., 871 A.2d 1108, 1115 (Del. 2005)); In re LMI Legacy Holdings,
Inc., No. 13-21098 (CSS), 2017 Bankr. LEXIS 1150, at *11, 14 (Bankr. D. Del. Apr. 27, 2017);
Fedders, 405 B.R. 527, 539 (Bankr. D. Del. 2009); RESTATEMENT (SECOND) CONFLICT OF LAWS
§ 309 (the “local law of the state of incorporation will be applied to determine the existence
and extent of a director’s or officer’s liability to the corporation, its creditors and
shareholder”).
40   See generally In re Owens Corning, 419 F.3d 195 (3d Cir. 2005).

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controlling law does not turn on which choice-of-law scheme applies, this case does

not require the Court to choose between them.

          B.     The complaint states a claim for breach of fiduciary duty under
                 both Pennsylvania and Delaware law.

          The allegations in the complaint are sufficient to state a prima facie claim of

breach of fiduciary duty against the fiduciaries of both the Delaware and

Pennsylvania entities. The elements of a claim for breach of fiduciary duty are the

same under both Delaware and Pennsylvania law. To state a claim, a plaintiff must

allege facts sufficient to show that the defendant (i) owed a duty, (ii) breached that

duty, and (iii) the breach of that duty resulted in injury to the plaintiff. Here, the

complaint alleges that each of the defendants was a director and/or officer of one of

debtors.41 And directors and officers of a corporate entity owe fiduciary duties to the

corporation under both Pennsylvania and Delaware law.42

          Certain defendants argue that the complaint does not allege that they held the

type of positions under which they would owe a fiduciary duty to the corporation.43

Under applicable law, however, the existence of a fiduciary duty does not turn on a

director or officer’s title, but rather on the individual’s authority, control, and/or

substantive responsibilities within the corporation. “Delaware law imposes fiduciary




41   See D.I. 1 at ¶¶ 12–22.
42Quadrant Structured Products Co., Ltd., v. Vertin, 102 A.3d 155, 171 (Del. Ch. 2014); In re
Total Containment, Inc., 335 B.R. 589, 602–603 (Bankr. E.D. Pa. 2005) (explaining that under
Pennsylvania law, directors and officers are fiduciaries).
43   See D.I. 43 at 2, 12–13.

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duties on those who effectively control a corporation.”44 Fairly read, the complaint

alleges that each of the defendants played a sufficiently substantial role in devising

or implementing corporate policy relating to its recruiting or compensation policies

to owe a fiduciary duty to the corporation.45

          The complaint alleges the defendants implemented, or failed to reform,

unlawful compensation and recruiting practices.46 That allegation is sufficient to

state a claim for breach of duty. Finally, the complaint alleges that the respective

debtors were injured, indeed, that the businesses were forced into liquidation, as a

result of those breaches.47       The complaint thus sufficiently alleges that each

defendant breached a fiduciary duty owed to the corporation for which he or she

allegedly served as an officer or director.

          C.     Claims asserted against defendants alleged to have been
                 fiduciaries of an entity within its state-law limitations period
                 are timely; claims against defendants who left their positions
                 before the beginning of the statutory period are time-barred.

          As a general matter, a motion to dismiss measures the allegations set forth in

the complaint against the elements of a plaintiff’s prima facie case. The availability

of a potential affirmative defense is not generally cognizable on a motion to dismiss.48

There is an exception to that principle, however, for cases in which the availability of


44   Quadrant Structured Products Co., 102 A.3d at 183–184.
45See D.I. 1 ¶¶ 12–22 (describing the important roles that each of the defendants was alleged
to have served).
46   Id. ¶¶ 119, 131, 160.
47   Id. ¶¶ 73, 109, 112.
 In re Reading Broad, Inc., 390 B.R. 532, 551 (E.D. Pa. 2008) (citing Hanna v. U.S. Veteran’s
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Admin. Hosp., 514 F.2d 1092, 1094 (3d Cir. 1975)).

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the affirmative defense is apparent based on the plaintiff’s own factual allegations.49

Defendants contend, on this basis, that the entire complaint should be dismissed on

statute of limitations grounds. For the reasons set forth below, the Court concludes

that the claims against defendants alleged to have been fiduciaries of Pennsylvania

entities, and within that state’s two-year statute of limitations, are timely. So are

claims against those alleged to have been officers or directors of Delaware entities in

the three-year period before the petition date. Claims against defendants who did

not serve as officers or directors within the applicable limitations period, however,

are time-barred.

              1.     Regardless of the choice-of-law principle selected, the
                     jurisdiction whose law provides the rule of decision also
                     supplies the applicable statute of limitations.

       As noted above, this case does not require the Court to decide on a choice-of-

law principle to determine which substantive law applies, since principles of

Delaware law and federal law (reflected in the Restatement) lead to the same place –

the internal affairs doctrine.      Deciding on the applicable statute of limitations,

however, introduces a further wrinkle, because of the particular manner in which

choice-of-law principles operate for statutes of limitations in diversity cases. As




49 Id. (citing In re Coastal Group, Inc., 13 F.3d 81, 83 (3d Cir. 1994)). See also Charles Alan
Wright et al., FEDERAL PRACTICE AND PROCEDURE § 1357 (“A complaint showing that the
governing statute of limitations has run on the plaintiff’s claim for relief is the most common
situation in which the affirmative defense appears on the face of the pleading and provides a
basis for a motion to dismiss under Rule 12(b)(6)…. [T]he inclusion of dates in the complaint
indicating that the action is untimely renders it subject to dismissal for failure to state a
claim.”).

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further described below, however, that wrinkle still does not alter the analysis above

or require the Court to decide which choice-of-law principle is applicable.

         To the extent the Court were to treat choice of law as subject to a federal

principle (as the law in the Ninth Circuit requires), then there would be no reason to

treat statutes of limitation differently from the substantive rule of decision. Since

the Restatement approach to choice of law points to the internal affairs doctrine, then,

in the absence of some federal principle that might supply a statute of limitations,

the state of incorporation should presumably supply not only the substantive

standard but also the applicable statute of limitations. In that event, the claims

against fiduciaries of the Pennsylvania entity would be subject to Pennsylvania’s two-

year statute.

         The wrinkle is introduced, however, if one were to treat the case in the way

diversity cases are treated (as the law in the Second and Fourth Circuits provides),

such that the court should decide on the statute of limitations in the same way as

would a state court sitting in the forum state. Despite the principle of Erie under

which federal courts sitting in diversity apply federal law to matters of “procedure,”50

courts exercising the diversity jurisdiction apply state (not federal) law to the statute

of limitations.51

         The complication here is that Delaware state law typically treats the statute

of limitations as procedural rather than substantive – meaning that a Delaware state



50   See generally Erie Railroad Co. v. Tompkins, 304 U.S. 64 (1938).
51   See Guaranty Trust Co. v. York, 326 US 99, 109 (1945).

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court hearing a claim governed by the law of another state would apply the Delaware

statute of limitations, not the statute of the jurisdiction whose substantive law would

control.52 Delaware law, however, provides for an exception to this principle in the

state’s “borrowing statute.”53 The borrowing statute effectively prohibits a plaintiff

from obtaining a longer statute of limitations on account of claims for injuries that

occur in other states by filing the case in a Delaware state court. Specifically, the

statute provides that “[w]here a cause of action arises outside of [Delaware], an action

cannot be brought to enforce such cause of action after the expiration of whichever is

shorter, the time limited by the law of this State, or the time limited by the law of the

state ... where the cause of action arose, for bringing an action upon such cause of

action.”54

          As the Delaware Supreme Court has explained, the purpose of the borrowing

statute is “to address a specific kind of forum shopping scenario—cases where a

plaintiff brings a claim in a Delaware court that (i) arises under the law of a

jurisdiction other than Delaware and (ii) is barred by that jurisdiction’s statute of

limitations but would not be time-barred in Delaware, which has a longer statute of

limitations.”55           As   the   court    explained,   under    “that   ‘standard   scenario,’




52See B.E. Capital Mgt. Fund LP v. Fund.com Inc., 171 A.3d 140, 147 (Del. Ch. 2017) (“the
law of the forum applies [to statutes of limitations] because the statute of limitations is
a procedural matter”).
53See, e.g., Vichi v. Koninklijke Philips Electronics, N.V., 62 A.3d 26, 42 (Del. Ch. 2012);
Burrell v. AstraZeneca LP, 2010 WL 3706584, at *3 (Del. Super. Ct. Sept. 20, 2010).
54   10 Del. C. § 8121.
55   Saudi Basic Indus. Corp. v. Mobil Yanbu Petrochemical Co., Inc., 866 A.2d 1, 16 (Del. 2005).

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the borrowing statute operates to prevent the plaintiff from circumventing the

shorter limitations period mandated by the jurisdiction where the cause of action

arose.”56

       As described in Part I.A, claims for breach of fiduciary duty, per the internal

affairs doctrine, “arise under” the law of the jurisdiction in which the entity is

incorporated.      Accordingly, the Delaware borrowing statute would apply the

Pennsylvania two-year statute to the claims that run against alleged fiduciaries of

Pennsylvania entities, while Delaware’s three-year statute of limitations applies to

claims running against alleged fiduciaries of Delaware entities. Because that is the

same result that would obtain under the Restatement approach, the wrinkle

introduced by the need to decide which statute-of-limitations applies does not require

the Court to choose as between the different choice-of-law principles.

              2.     The claims against defendants alleged to have served as
                     officers or directors within the applicable limitations
                     period are not time-barred.

       In asserting claims for breach of fiduciary duty, the trustee stands, by virtue

of section 541 of the Bankruptcy Code, in the shoes of each of the debtors that could




56 Id. at 16–17. Some case law provides that the borrowing statute may be disregarded in
circumstances in which there is no reason to be concerned about forum shopping, such as
where a bankruptcy trustee brings suit in bankruptcy court. See Mervyn’s Holdings, Inc.,
426 B.R. 488, 503 (Bankr. D. Del. 2010). The trustee contends that the borrowing statute
should be disregarded on that basis. D.I. 58 at 25. Without casting judgment on any party’s
motive in selecting a forum, however, this Court believes it is sufficient for this purpose to
observe that this Court has concurrent rather than exclusive jurisdiction over the state-law
claim for breach of fiduciary duty. 28 U.S.C. § 1334(b). Accordingly, that claim also could
have been brought in any state court of competent jurisdiction. The Delaware borrowing
statute thus applies in this context per its express terms.

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have asserted such a claim against its officers and directors.57 The Bankruptcy Code

operates to extend the statute of limitations, for any cause of action as to which the

statute had not expired as of the petition date, until two-years after the entry of the

order for relief.58 This action was filed within two years of the entry of the order for

relief and is thus timely filed for any claim that had not expired as of the filing of the

petition.

          For claims that are subject to Pennsylvania’s two-year statute of limitations,59

to the extent the alleged breach of fiduciary duty occurred more than two years before

the petition date, the statute of limitations on such a claim would have expired before

the petition date, and such a claim is therefore not saved by section 108(a) of the

Bankruptcy Code.            For claims subject to Delaware’s three-year statute of

limitations,60 the question is whether the alleged breach occurred within three years

of the petition date.

          The parties dispute when a claim for breach of fiduciary duty accrues – which

is the date on which the statute of limitations begins to run. The defendants argue,

as many cases hold, that such a claim accrues at the time of the breach – meaning at

the time of the act or omission that is alleged to give rise to the claim of breach of




57 11 U.S.C. § 541; Chicago Board of Trade v. Johnson, 264 U.S. 1, 12–13 (1924); Hays & Co.
v. Merrill Lynch, Pierce, Fenner & Smith, Inc., 885 F.2d 1149, 1154 (3d Cir. 1989).
58   11 U.S.C. § 108(a).
59   42 Pa. Cons. Stat. § 5524(7).
60   10 Del. C. § 8106.

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fiduciary duty.61 On this view, the statute begins to run “the moment the wrongful

act occurs, not when the harmful effects of the [wrongful] acts are felt—even if the

plaintiff is unaware of the wrong.”62

          The trustee takes a different view, arguing that the claims for breach of

fiduciary duty did not accrue until the settlements were reached in 2015. That,

however, cannot be correct. The settlements operated to liquidate and resolve the

company’s otherwise disputed and unliquidated liabilities. If the actions that gave

rise to those liabilities amounted to breaches of fiduciary duties, however, those

claims for breach would have accrued no later – on any plausible theory – than the

time that the underlying actions were known to the general public.                        Once the

company’s actions were sufficiently known such that relators could begin bringing

qui tam litigation, the company itself was certainly in a position to assert a breach of

fiduciary duty claim against those whose decisions and actions gave rise to those

asserted liabilities. And the complaint alleges throughout that the practices that

gave rise to those liabilities were a matter of public record for years before the 2015

settlements.63




61In re W.J. Bradley, 598 B.R. 150, 167 (Bankr. D. Del. 2019) (citing In re AMC Investors,
LLC, 524 B.R. 62, 80–81 (Bankr. D. Del. 2015)) (finding that the statute of limitations for a
breach of fiduciary duty claim began to run when the wrongful act of approving certain fees
was approved, not when the harmful effects were realized, i.e., when the defendant accepted
each payment).
62Id. (quoting Carr v. New Enter. Assocs., Inc., No. 2017-0381-AGB, 2018 WL 1472336, at *8
(Del. Ch. Mar. 26, 2018)).
63   See, e.g., D.I. 1 at ¶¶ 42, 57, 58, 60.

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       Accordingly, the complaint does not state a claim against any defendant who

is not alleged to have served as an officer or director of one of the debtor entities

within the statute of limitations period that applies to that entity, based on its state

of incorporation – which means within two years of the petition date for the

Pennsylvania entities and within three years of the petition date for the Delaware

entities. A defendant who departed the company outside that timeframe cannot have

taken any action within the applicable statutory period that would constitute a

breach. And because there is no allegation that some relevant action amounting to a

breach of duty taken before this period only became known after this period began,

there is no reason to opine further on precisely when a claim for breach of fiduciary

duty accrues.64

       On the other hand, the allegations of the complaint – including the allegations

that the false certifications continued to be made through the filing of the bankruptcy

petition – are sufficient to state a claim against those defendants who held fiduciary

roles within the limitations period. To be sure, once the debtors began to wind down




64For this reason, the trustee is incorrect to argue that actions taken outside the limitations
period can form the basis of a claim under the continuing violation doctrine. Under that
doctrine, where a series of acts or omissions are essentially indivisible, and at least a portion
of the conduct giving rise to the claim occurs within the limitations period, the entire set of
actions is deemed to fall within the period. See Albert v. Alex. Brown Mgmt. Servs., Inc, 2005
WL 1594085, at *16, (Del. Ch. June 29, 2005); Liberty Mut. Fire Ins. Co. v. Corry Indus., Inc.,
2000 WL 34546492, at *3–4 (W.D. Pa. Mar. 30, 2000). Where there is a basis to segment the
alleged wrongful actions into discrete periods, however, the continuing violation doctrine will
not apply. See Desimone v. Barrows, 924 A.2d 908, 925 (Del. Ch. 2007); Travis v. Deshiel,
832 F. Supp. 2d 449 (E.D. Pa. 2011). With respect to a claim for breach of fiduciary duty
brought against an individual, the termination of the fiduciary duty certainly provides a point
at which the claim can be segmented, rendering the continuing violation doctrine
inapplicable.

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their operations and liquidate their businesses, there are questions about how the

alleged breaches may have given rise to claims for damages. But those are not

matters that are before the Court on a motion to dismiss. For this purpose, it is

sufficient to state that for those who served as fiduciaries within the limitations

period, the complaint cannot be dismissed for failure to state a claim.

          Accordingly, fiduciary duty claims against those defendants who did not serve

as fiduciaries within the applicable limitations period will be dismissed. The statute

of limitations defense fails, however, for the remaining defendants who had fiduciary

duties to Delaware entities within three years before the petition date or to

Pennsylvania entities within two years before the petition date.65

                 3.      The trustee’s arguments for overcoming the statute of
                         limitations defenses are unsuccessful.

          The trustee argues that to the extent his claims are barred by the limitations

period under Pennsylvania or Delaware law, they should be revived under the

adverse domination tolling exception and the discovery rule.66              The adverse

domination doctrine provides that a statute of limitations is tolled for the period when

a plaintiff is controlled by the alleged tortfeasors.67 Miller argues that the statute of


65 According to the allegations of the complaint, defendants Nelson, McKernan, and Cowley
left EDMC and the Delaware entities before June 2015 and are not subject to breach of
fiduciary duty claims involving EDMC or the Delaware entities. The complaint alleges that
defendants West, Novad, and Beekhuizen left EDMC before June 2016—two years before the
petition date—and are therefore not subject to breach of fiduciary duties claims involving
EDMC. The breach of fiduciary duty claims against those defendants that are alleged to have
served as a board member or officer for EDMC or the Delaware entities within the applicable
limitations period remain.
66   D.I. 58 at 39–43.
67Hecht v. Malvern Preparatory Sch., 716 F. Supp 2d 395, 399 (E.D. Pa. 2010) (citing
Armstrong v. McAlpin, 699 F.2d 79, 87 (2d Cir. 1983)). (“[W]here an action is brought on
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limitations should be tolled because the defendants (the alleged tortfeasors) were in

control of the company, and as a result, there was no independent party to bring a

claim on the company’s behalf.

       To begin, the adverse domination doctrine does nothing to revive claims that

expired on the ground that the alleged breaches of duties by directors and officers of

Delaware entities took place more than three years before the petition date, as

Delaware law does not recognize the doctrine of adverse domination.68

       While it does not appear that any Pennsylvania state appellate court has

recognized, adopted, or endorsed the adverse domination doctrine, the parties have

pointed to one Pennsylvania trial court that has done so, relying on decisions by

federal courts applying Pennsylvania law.69 The doctrine is only applicable, however,

when (i) there was no non-culpable party who could have brought suit before the




behalf of an entity which has been defrauded by persons who completely dominated and
controlled it, the statute of limitations is tolled as to the controlling wrongdoers during the
period of their domination and control.”).
68See In re IH 1, Inc., No. 09-10982 (LSS), 2016 Bankr. LEXIS 4604, at *40 (Bankr. D. Del.
Sep. 28, 2016) (“The Court is persuaded that Delaware has not adopted the adverse
domination doctrine and so rejects that argument to the extent it was suggested by the
Trustee.”)); In re AMC Investors, LLC, 524 B.R. 62, 81 (Bankr. D. Del. 2015) (“It also appears
that Delaware courts do not recognize adverse domination—when a corporation’s board is
controlled by culpable directors—as a basis for tolling a breach of fiduciary duty action.”).
69Mariner Chestnut Partners, L.P. v. Lenfest, 152 A.3d 265, 280 (Pa. Super. Ct. 2016) (citing
Resolution Trust Corp. v. Farmer, 865 F. Supp. 1143, 1158–1159 (E.D. Pa. 1994)). See also
In re O.E.M./Erie, Inc., 405 B.R. 779, 785 (W.D. Pa. 2009) (“While Pennsylvania has
recognized various tolling principles to permit a cause of action that may otherwise be
prohibited under the applicable statute of limitations, the concept of adverse domination has
not yet been utilized by the state courts of Pennsylvania. Despite the lack of authority,
federal courts have assumed that adverse domination is a viable equitable tolling principle
in Pennsylvania.”); see also In re Adelphia Commc’ns Corp., 365 B.R. 24, 59 (Bankr. S.D.N.Y.
2007) (“the Court regards it as highly likely that the Pennsylvania Supreme Court would
apply the doctrine of adverse domination in this case”).

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appointment of a trustee (or its equivalent) because of the defendants’ control over

the company and (ii) non-culpable parties were not aware of the alleged wrongdoing.70

          The adverse domination doctrine (like the discovery rule, which is a variant on

the same principle) is thus inapplicable where the facts giving rise to the claim are

publicly known.71 Here, the complaint is replete with allegations of public disclosure

of the recruiting and compensation policies that are the gravamen of the trustee’s

lawsuit.72 Principles of adverse domination accordingly will not save the claim from

an otherwise valid statute of limitations defense.

          D.      Defendants’ various preclusion and estoppel defenses are
                  unsuccessful.

          Because part of the trustee’s claim for breach of fiduciary duty (the claims

against fiduciaries of the Delaware-incorporated entities who were alleged to have

served in a fiduciary role at any point within three years before the petition date) is

not barred by the statute of limitations, the Court next turns to the defendants’

remaining defenses to that claim – the argument that the claim is barred by

principles of preclusion and estoppel.




 See e.g., Hecht, 716 F. Supp 2d at 399; O.E.M./Erie, Inc., 405 B.R. at 785; Resolution Trust
70

Corp., 865 F. Supp. at 1158–1159; Mariner Chestnut Partners, 152 A.3d at 278.
71   Mariner Chestnut Partners, 152 A.3d at 280.
72   See, e.g., D.I. 1 at ¶¶ 37, 42, 57, 58, 60.

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                 1.      The claim preclusion defense fails because the dismissal
                         of the derivative action was not an adjudication on the
                         merits of the underlying claim.

          In Oklahoma Law Enforcement Retirement System (“OLERS”) v. Nelson,73 a

group of shareholders of EDMC brought a derivative action, seeking to obtain

authority to pursue, on behalf of EDMC, a claim for breach of fiduciary duty against

certain officers and directors. In a 2015 ruling, the Pennsylvania Court of Common

Pleas dismissed that action based on the determination of a special litigation

committee that examined the potential claim and concluded that pursuing it would

not be in the best interests of the company.74 The defendants collectively assert that

this ruling is claim preclusive of the trustee’s breach of fiduciary duty claim asserted

here.75 While, like a statute of limitations, claim preclusion is an affirmative defense,

a court may take judicial notice of the fact of a prior judgment, and on that basis

consider claim preclusion on a motion to dismiss. As the Third Circuit has explained,

on a Rule 12(b)(6) motion, “a court may properly look at judicial proceedings, in

addition to the allegations of the complaint.”76 And while there is a limit to a court’s

ability to review other judicial proceedings discussed further below, a court “may take

judicial notice of another court’s opinion not fort the truth of the facts recited therein,

but for the existence of the opinion,” that limitation does affect the ability of a



73   No. GD-12-008785 (Pa. Ct. Comm. Pleas).
74The relevant decisions of the Pennsylvania Court of Common Pleas are set forth at D.I. 44-
1 and D.I. 44-2.
75   D.I. 43 at 9–11; D.I. 46 at 24; D.I. 49 at 13–16.
76See Southern Cross Overseas v. Wah Hwong Shipping, 181 F.3d 410, 426 (3d Cir. 1999).
See also In re Raytrans Holding, Inc., 573 B.R. 121, 129 (Bankr. D. Del. 2017).

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defendant to raise claim preclusion as a defense, since consideration of claim

preclusion does not require the consideration of any facts beyond the issuance of the

judgment that is argued to be claim preclusive.

          Under the Full Faith and Credit Act,77 federal courts must grant “state court

decisions … the same preclusive effect in federal court they would be given in the

courts of the rendering state.”78 The OLERS derivative action was dismissed by a

state court in Pennsylvania; thus, the Court must apply the principles of claim

preclusion (or res judicata) that prevail in Pennsylvania state courts. A defendant

that raises a res judicata defense must show that there was a (i) final judgment on

the merits in a prior suit, (ii) that the prior proceeding involved the same parties or

their privies, and (iii) the existence of a subsequent lawsuit based on the same cause

of action.79 In bankruptcy, the trustee steps into the shoes of a debtor; thus, the

parties are identical, notwithstanding the trustee’s argument that the trustee and

shareholder’s interests are not the same.80 And the trustee does not dispute that the

current claims before the Court are similar to those in the previous derivative




77   28 U.S.C. § 1738.
78   Del. River Port Auth. v. Fraternal Order of Police, 290 F.3d 567, 572–573 (3d Cir. 2002).
79 See In re Cowden, 337 B.R. at 529–30 (explaining that under Pennsylvania law, the
elements of res judicata are essentially the same as under federal law); In re Jeannette Corp.,
116 B.R. 934, 935 (Bankr. W.D. Pa. 1990) (citing United States v. Athlone Indus., 746 F.2d
977, 983 (3d Cir. 1984)).
80Off. Comm. of Unsecured Creditors v. R.F. Lafferty & Co., 267 F.3d 340, 356–357 (3d Cir.
2001); Hays & Co., 885 F.2d at 1154 (quoting 3 Collier on Bankruptcy ¶ 323.02[4]).

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actions.81 The only disputed issue, therefore, is whether the ruling in the OLERS

derivative action is a “final judgment on the merits.”

         While the Court is not aware of a case arising in the bankruptcy context that

addressed the preclusive effect of a decision that dismisses a derivative action on the

ground that a special litigation committee conducted an independent review of the

potential claim and determined not to pursue it, the Delaware Chancery Court has

addressed that issue.82 Indeed, both the Delaware Chancery Court and a leading

treatise on Delaware corporate law have explained that a court’s determination to

dismiss a derivative lawsuit based on the judgment of an independent special

litigation committee that the pursuit of such an action is not in the corporation’s

interest is not an adjudication by the court of the merits of that action.83 The question

before a court in deciding whether to dismiss a derivative action based on the

determination of a special litigation committee is fundamentally a question of

corporate governance – whether the shareholder should, in effect, be granted

standing to pursue the claim on behalf of the corporation.84 A decision to accept the



81   Oct. 13, 2021 Hearing Tr. at 10.
82While the Court has not identified any Pennsylvania authority on this issue, the Court is
not aware of any reason to believe that a Pennsylvania court would diverge from the approach
adopted by the Delaware Chancery Court on this corporate law principle.
83In re Primedia Inc., 67 A.3d 455, 490 (Del. Ch. 2013); see, e.g., London v. Tyrell, No. 3321-
CC, 2010 Del. Ch. LEXIS 54, at *74 (Mar. 11, 2010); Lewis v. Fuqua, 502 A.2d 962, 966–967
(Del. Ch. 1985); see also Wolfe, Jr., Pittenger, Davey, Belger, and Rogers, CORPORATE AND
COMMERCIAL PRACTICE IN THE DELAWARE COURT OF CHANCERY at § 902[c][4] Publ. 1195 Rel.
15 (2014).
84 London, No. 3321-CC, 2010 Del. Ch. LEXIS 54, at 87 (rejecting the committee’s
recommendation for dismissal where the committee failed to provide evidence supporting
steps taken to resolve disputed facts in the derivative action).

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determination of a special committee is a decision to deny the shareholder standing

to pursue the corporate case of action, not itself an adjudication by the court of the

underlying action.85

      In sum, a court’s determination that a special litigation committee conducted

a good-faith and independent investigation into the claims asserted in a derivative

action is not an adjudication on the merits because, while the court might consider

the merits of the underlying claim, the court need not actually adjudicate the merits

of the underlying claim. Instead, the court is reviewing the process undertaken by

the special litigation committee in reaching the judgment that pursuit of the claim

was not in the corporation’s best interests. The dismissal of a derivative action

therefore does not constitute a final judgment on the merits, and the trustee’s claims

that survive the statute of limitations challenge are not barred by principles of claim

preclusion.

               2.   The remaining preclusion defenses require consideration
                    of extrinsic evidence and, in the context of this dispute,
                    are not properly addressed on a motion to dismiss.

      The defendants alternatively argue that Judge Wettick’s ruling in the OLERS

derivative action precludes the trustee’s lawsuit under theories of issue preclusion

(or collateral estoppel) and judicial estoppel. In the context of this dispute, however,

the assertion of estoppel defenses is premature at the motion to dismiss stage.




85CORPORATE AND COMMERCIAL PRACTICE IN THE DELAWARE COURT OF CHANCERY, Publ.
1195 at § 9.02[c][5], 9-135 (citing Primedia, 67 A.3d at 490).

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         In considering a motion to dismiss, a court is generally bound by the four

corners of the complaint and cannot rely on extrinsic documents not attached to or

relied upon in the complaint.86 As noted above, however, the court may take consider

material that is subject to judicial notice, such as a judicial record, not for the truth

of its assertions, but for the existence of the document itself.87 As the Third Circuit

explained in Southern Cross Overseas, it “has been suggested that the appropriate

analogy is the hearsay rule, which allows an out-of-court statement to be admitted

into evidence for purposes other than establishing the truth of the statement.”88

         To find an action barred by principles of issue preclusion, a court is required to

determine that a particular matter was “actually litigated” in the previous matter.

Specifically, to establish issue preclusion, a defendant must show (i) identical issues

were presented in a prior proceeding; (ii) there was a full and fair opportunity to

litigate the issues in the prior proceeding; (iii) the issues in the prior proceeding were

a necessary part of the prior determination; (iv) the parties in the prior and current

proceedings were identical; and (v) actual litigation of the prior issues on the merits.89

         Thus, unlike the defense of claim preclusion, the fact of a judgment alone will

not be sufficient to establish a collateral estoppel defense.           Rather, a court in




86U.S. Express Lines, LTD. v. Higgins, 281 F.3d 383, 388 (3d Cir. 2002) (explaining that the
court may not consider any extrinsic evidence with the exception of documentation integral
to or explicitly relied upon in the complaint).
87   See supra n.76.
88   Southern Cross Overseas, 181 F.3d at 427 n.7.
89In re Stetar, 323 B.R. 646, 649 (W.D. Pa. 2005) (citing Raytech Corp. v. White, 54 F.3d 187,
190 (3d Cir. 1995)).

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considering such a defense is required to review what actually happened in the prior

litigation, including the positions taken by the parties, in order to determine which

matters were “actually litigated.”

         That is not to say that it may not be possible, in an appropriate case, to address

a collateral estoppel defense on a motion to dismiss.90 In this case, however, the Court

concludes that it would be more appropriate to consider the various estoppel and

abandonment defenses on a summary judgment record. To be sure, as Wright and

Miller recognize in their discussion of judicial notice, a “court could take judicial

notice that a party made a statement in some document filed with the court.”91 And

there are certainly situations in which the making of a statement to a court is a

sufficient basis to find judicial estoppel.

         In view of the limitations on the doctrine of judicial notice (which bar the court

from considering a judicial record for the truth of the matters contained therein) and

the nuances involved in determining what was “actually litigated” in the derivative

actions, the Court believes it more appropriate to consider the various estoppel and

abandonment defenses on a summary judgment record.

         For example, the determination that a matter was “actually litigated” in a prior

proceeding is something that cannot be ascertained based on the fact of a judgment –

it requires an assessment of what happened in the litigation to lead to that judgment.


90Indeed, the court in Raytrans Holding, for example, dismissed certain counts on a motion
to dismiss based on a collateral estoppel defense. 573 B.R. at 129–131. In addition, Wright
& Miller observe that courts have considered “various types of estoppel” on a motion to
dismiss. FEDERAL PRACTICE AND PROCEDURE § 1357.
91   FEDERAL PRACTICE AND PROCEDURE § 5106.4.

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It may certainly be possible, in another context, for a court to determine that a matter

was “actually litigated” by relying only on the fact that the parties made certain

filings. In the context of this case, however, the Court does not believe that the

judicial records that have been submitted in connection with the motions to dismiss

(which include the EDMC special litigation committee report and various pleadings

in the qui tam and derivative lawsuits) are sufficient to establish, at least without

additional context, that the merits of the fiduciary duty claim were “actually litigated”

in the derivative litigation. Rather, the Court believes that in this context, a fair

assessment of the claims of collateral and/or judicial estoppel will require a

consideration of the posture, circumstances, and context in which parties took

positions and how the courts addressed them. To the extent the trustee (who has

argued that such pleadings cannot be considered for their truth on a motion to

dismiss) contends that other admissible evidence will provide appropriate context

that will bear on these defenses, the trustee should be afforded the opportunity to

provide such evidence at the summary judgment stage.

                 3.      Nothing that is properly the subject of judicial notice
                         demonstrates that the debtor waived or abandoned the
                         breach of fiduciary duty claims.

          Defendants also contend that the breach of fiduciary duty claim is barred on

the ground that the estate “waived” or “abandoned” it in connection with the

resolution of the derivative actions.92 There is nothing, however, in the allegations of

the complaint or that is subject to judicial notice to support that assertion.



92   See D.I. 46 at 24; D.I. 49 at 22–23.

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         Like the argument that the resolution of the derivative lawsuit is claim

preclusive, these arguments misapprehend both what the court and the corporation

are doing when a derivative action is dismissed. In the first instance, the decision

whether to pursue a cause of action is a business judgment like any other, vested in

the corporation’s board of directors.93 The decision of a board (or, where appropriate,

a special litigation committee), to forego asserting a potential claim is just a business

judgment about the path that best serves the corporation’s interests at a particular

moment in time. Like the decision to pursue a particular transaction or to adopt a

given marketing strategy, the decision not to pursue litigation is subject to being

changed at any time, based on new facts, a change in personnel, or just a change of

heart. In the absence of a contract (such as a settlement and release) or, at the very

least, a factual circumstance that would give rise to an estoppel, the decision by a

corporation at one point that it will not pursue a claim does not prevent it from

making a different decision later. And while a chapter 7 trustee has no greater rights

to recover on an estate cause of action than the debtor had at the time of the

bankruptcy, the trustee certainly has the same right the debtor would have had to

make a different business judgment than the company had made in the past about

what is in the estate’s best interests.94 Aside from the arguments about collateral



93 See Zapata, 430 A.2d at 782 (“Directors of Delaware corporations derive their managerial
decision-making power, which encompasses decisions whether to initiate, or refrain from
entering, litigation, from 8 Del. C. § 141(a).”); 8 Del. C. § 141(a) (“The business and affairs of
every corporation organized under this chapter shall be managed by or under the direction
of a board of directors, except as may be otherwise provided in this chapter or in its certificate
of incorporation.”)
94   Chicago Board of Trade v. Johnson, 264 U.S. 1 (1924).

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estoppel or judicial estoppel (which the Court concluded are premature in the context

of this case on a motion to dismiss), nothing else alleged in the complaint or subject

to judicial notice (that has been identified by the defendants in the motions to dismiss)

would operate to “waive” or “abandon” the claim for breach of fiduciary duty.

II.    The trustee fails adequately to plead a claim for common law fraud.

       The trustee’s claim for common law fraud fails, both as a matter of Delaware

and Pennsylvania law. The heart of the fraud claim is the allegation that defendants

defrauded the federal government out of millions of dollars in student loan funds by

making false certifications of their compliance with certain laws necessary to receive

these funds.

       Those allegations are insufficient to state a claim by the bankruptcy estate

against the former directors and officers for common law fraud.                   Under both

Pennsylvania and Delaware law, a claim for common law fraud requires a showing,

at the very least, that there was (i) a material misrepresentation by the defendant,

which the defendant knows to be false, (ii) justifiable reliance on the

misrepresentation by the plaintiff, and (iii) harm to the plaintiff as a result.95

       The fatal flaw in the trustee’s claim for common law fraud is the absence of

any allegation that the plaintiff relied on the alleged misrepresentation. Otherwise

put, the problem with the claim for common law fraud is that, accepting the


95See Gaffin v. Teledyne, Inc., 611 A.2d 467, 472 (Del. 1992); Abry Partners V, L.P. v. F&W
Acquisition LLC, 891 A.2d 1032, 1050 (Del. Ch. 2006); Joyce v. Erie Ins. Exch., 74 A.3d 157,
167 (Pa. Super. Ct. 2013); Colaizzi v. Beck, 895 A.2d 36, 39 (Pa. Super. 2006) (“to establish
common law fraud, a plaintiff must prove: (1) misrepresentation of a material fact; (2)
scienter; (3) intention by the declarant to induce action; (4) justifiable reliance by the party
defrauded upon the misrepresentation; and (5) damage to the party defrauded as a result.”).

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allegations in the complaint as true, the debtors were the perpetrators of the alleged

fraud – submitting certifications of compliance on which the government relied in

advancing federal funds – not the victims. Accordingly, even without reaching the

question whether the allegations of fraud are sufficiently particular to satisfy Rule

9(b) (and the related question of the application of Rule 9(b) to claims asserted by a

trustee in bankruptcy96), the claims for common law fraud will be dismissed for failure

to state a claim.

III.      The trustee’s civil conspiracy claim survives only to the same extent
          as the claim for breach of fiduciary duty.

          The law on civil conspiracy in Pennsylvania and Delaware is identical,

obviating the need to consider which law is applicable. To successfully plead a claim

for civil conspiracy (under both laws), a plaintiff must allege that (i) two or more

persons combined or agreed (ii) to commit an unlawful act97 that resulted in (iii)

actual injury.98

          To assert a claim for civil conspiracy, a plaintiff must allege a valid underlying

claim.99 The only claim that has otherwise survived the motion to dismiss is the claim


96 See, e.g., Craftmatic Sec. Litigation v. Kraftsow, 890 F.2d 628, 645 (3d. Cir. 1989)
(explaining that courts generally apply a more relaxed standard under Federal Rule 9(b)
when factual information is within the defendants’ knowledge or control because a plaintiff
cannot be expected to possess personal knowledge with respect to a corporate defendants’
internal affairs); In re APF Co., 308 B.R. 183, 188 (Bankr. D. Del. 2004) (“But ‘in the
bankruptcy context, Federal Rule 9(b) should be interpreted liberally, particularly when the
trustee . . . is bringing the action.’”).
97 This element can also be satisfied by showing an unlawful act done in furtherance of the
alleged conspiracy. See McLaughlin v. Copeland, 455 F. Supp. 749, 752–753 (D. Del.
1978), aff’d, 595 F.2d 1213 (3d Cir. 1979).
98   Nicolet, Inc. v. Nutt, 525 A.2d 146, 149-150 (Del. 1987).
99   Kuroda v. SPJS Holdings, LLC, 971 A.2d 872, 892 (Del. Ch. 2009).

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for breach of fiduciary duty against those defendants who were alleged to have served

in a fiduciary role between January 2016 and June 2016.

          The question whether the complaint properly asserts a claim for civil

conspiracy against those defendants is a close one. On the one hand, the complaint

is thin on specific allegations of the defendants having “combined” or “agreed” to

breach their fiduciary duties. On the other hand, a court must draw all inferences

from the facts as alleged in favor of the non-moving party. The Court therefore

concludes that the allegations regarding the defendants’ common participation in a

plan to operate the debtor’s business in a manner that violated applicable law is

sufficient to survive a motion to dismiss. To that end, it bears note that this Court

has previously observed that a claim for civil conspiracy to breach a fiduciary duty is

substantively similar to a claim for aiding and abetting breach of fiduciary duty.100 It

therefore seems to follow that a complaint that is sufficient to allege that various

members of a corporate board individually breached their duties to the corporate

entity by facilitating and failing to reform unlawful corporate practices need not

allege much more to state a claim against those same defendants for conspiring with

one another to breach those fiduciary duties.             The remaining claims for civil

conspiracy, however, will be dismissed without prejudice for failure to state a claim.




100   In re USA Detergents, 418 B.R. 533, 547 (Bankr. D. Del. 2009).

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IV.         The corporate waste and unjust enrichment claims fail because it is
            alleged that the payments were made under employment agreements;
            the complaint fails to allege intentional fraudulent conveyance with
            the requisite specificity.

            Miller argues that the payments made to the defendants during the liquidation

of the debtors’ assets and closure of its locations were excessive, without equivalent

value and/or consideration, and therefore constitute fraudulent conveyances,

corporate waste, and unjust enrichment.

            To plead a claim for corporate waste, a plaintiff must show that there was an

exchange of corporate assets for consideration so disproportionately small that no

reasonable person would be willing to trade.101 Most often, courts find corporate

waste when the transfer of corporate assets subject to the waste claim serves no

corporate purpose, or in which there is no consideration.102

            Miller alleges in the complaint, however, that the payments at issue here were

made pursuant to employment contracts.103 That allegation effectively defeats his

claims for corporate waste, and unjust enrichment. In the absence of a challenge to

the employment agreements themselves, and the complaint includes no such

challenge, a payment made under an employment agreement is not the kind of

disposition of corporate assets that can amount to corporate waste or give rise to a

claim of unjust enrichment.


101In re The Brown Schools, 368 B.R. 394, 407–408 (Bankr. D. Del. 2007); see also Brehm v.
Eisner, 746 A.2d 244, 263–264 (Del. 2000) (explaining that a finding of corporate waste in
risky business transactions is “confined to unconscionable cases where directors irrationally
squander or give away corporate assets.”).
102   Id.
103   D.I. 1 ¶¶ 188, 195.

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            Miller also asserts a claim for intentional fraudulent conveyance under section

548(a)(1)(A) of the Bankruptcy Code.104 Miller alleges that the later defendants

(McEachen, Danielson, and Jalufka) received large compensation payments during

liquidation of the debtors’ assets with knowledge that doing so would hinder their

creditors, and therefore constitutes actual fraud under section 548(a)(1)(A).105

            Claims for intentional fraudulent conveyance under section 548(a)(1)(A)

require the trustee to allege (i) the transfers in question were made within two years

of the petition date, and (ii) the debtor made the transfer with intent to hinder, delay

or defraud an entity to which the debtor was or became, on or after the date that such

transfer was made, indebted.106 Claims of actual intent to hinder, delay or defraud

creditors must be pled with particularity under Rule 9(b).107 While courts in this

jurisdiction have held that this standard should be applied liberally when the

plaintiff is a trustee108 (often restrained by time and with limited access to the debtors’

books and records), the complaint still must, at the very least, contain some factual

allegation sufficient to support a finding that the transferor intended to defraud its

creditors.

            The theme of this complaint, however, is that the debtors sought to increase

revenues by defrauding the government. There is no specific factual allegation (that


104   D.I. 1 ¶¶ 180–183.
105   Id.
106   11 U.S.C. § 548(a)(1)(A).
107Fed. R. Civ. P. 9(b); see also In re Pennysaver USA Publ’g, LLC, 587 B.R. 445, 459–460
(Bankr. D. Del. 2018).
108   Id. at 460.

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would pass muster under Rule 9(b)) to support the trustee’s claim that the transfers

in question were made with the requisite intent to hinder, delay or defraud creditors.

The claim will accordingly be dismissed without prejudice.

V.     The allegations in the complaint are sufficient to state a claim for
       constructive fraudulent conveyance under the Bankruptcy Code and
       the Delaware Uniform Fraudulent Transfer Act.

       With respect to the claim for constructive fraudulent conveyance, the caselaw

in this jurisdiction provides that the satisfaction of a valid debt is, at least

presumptively, reasonably equivalent value.109 Defendants argue that because the



109 See In re Opus East, LLC, 528 B.R. 30, 83, 89-90 (Bankr. D. Del. 2015). The Bankruptcy
Code by its terms provides that the “satisfaction … of … antecedent debt of the debtor”
constitutes “value.” 11 U.S.C. § 548(d)(2). When a debtor receives value at the same time it
makes a transfer, the analysis of “reasonably equivalent value” involves a comparison of the
value received and the value transferred. This is the analysis of the specific transfers in
which the court engaged in Opus East, 528 B.R. at 83–90 (finding that the trustee had not
met its burden to show that the debtor did not receive reasonably equivalent value for each
of the transfers), and that the Third Circuit undertook in In re RML Inc., 92 F.3d 139, 148–
150 (3d Cir. 1996) (concluding that a company in financial distress did not obtain reasonably
equivalent value when, for a transfer of $515,000, the debtor received a commitment from a
bank to conduct due diligence in connection with a potential $53 million loan that was
unlikely to close, and in fact did not close), and Mellon Bank, N.A. v. Metro Communications,
Inc., 945 F.2d 635, 646–647 (3d Cir. 1991) (assessing the value of the “indirect benefits”
received by a debtor that was acquired in a leveraged buyout).
On one view, where a transfer satisfies an antecedent debt, the question of the “reasonable
equivalence” of the value would not appear to be presented, so long as every dollar transferred
satisfied a dollar of antecedent debt. See also In re Amcad Holdings, LLC, 579 B.R. 33, 42
(Bankr. D. Del. 2017) (“A payment that reduces the amount owed on a pre-existing obligation
constitutes reasonably equivalent value.”). The Bankruptcy Code does, however, provide for
the possibility that the incurrence of that debt might itself be avoidable. Id. § 548(a)(1)
(addressing the possibility that an “obligation … incurred by the debtor” may be avoided as
a fraudulent conveyance). A transfer that satisfies an obligation that was itself avoided is of
course likewise avoidable, since the avoidance of the obligation would eliminate the
antecedent debt.
On the other hand, there is also some contrary some authority. See generally In re Liquid
Holdings Group, Inc., No. 16-10202 (KG), 2018 WL 6841351 at *5 (Bankr. D. Del. Nov. 14,
2018) (suggesting that there may be circumstances in which satisfaction of an antecedent
debt does not constitute reasonably equivalent value without addressing whether those
circumstances are limited to those in which the obligation that gave rise to the indebtedness
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challenged payments were (according to the allegations of the complaint) made under

employment contracts, they therefore cannot be challenged as constructive

fraudulent conveyances.

       Without any evidence about the terms of the employment contracts, however,

it is impossible to say that each of the challenged payments was in satisfaction of a

valid antecedent debt. Specifically, the trustee contends that the payments being

challenged as constructive fraudulent conveyances were bonus and severance

payments. Without excluding the possibility that the payments may have satisfied a

valid antecedent indebtedness, the complaint does not by its terms make it obvious

that the debtor received reasonably equivalent value by receiving a dollar-for-dollar

reduction of a legal obligation on account of each dollar transferred. The Court

accordingly cannot conclude, based solely on the allegations of the complaint, that the

debtor received reasonably equivalent value for each of the challenged payments.110

VI.    The trustee fails adequately to state a preference claim.

       A.     The complaint fails to identify which debtor made the allegedly
              preferential transfers, as this Court’s precedent requires.

       The defendants contend that the preference claim is not sufficiently pled

because Miller fails to detail each allegedly preferential transfer. The defendants

specifically point out that the complaint does not contain adequate, identifying


is itself subject to avoidance). In the current posture of this motion, the Court need not
address whether the presumption that the satisfaction of antecedent debt is reasonably
equivalent value can be rebutted by a means other than by the avoidance of the corresponding
obligation.
110The allegations in the complaint regarding the debtors’ financial distress are sufficient, at
the motion to dismiss stage, to allege that the debtors were insolvent when the transfers were
made. D.I. 1 ¶ 142.

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information of the alleged fraudulent transfers, including the debtor that made each

transfer and the antecedent debt.

          A trustee may avoid certain transactions between a debtor and its creditors

that occurred within the ninety days before the petition date. 11 U.S.C. § 547. To

avoid a prepetition transfer on preference grounds, a plaintiff must identify a transfer

(i) made to or for the benefit of a creditor, (ii) for or on account of an antecedent debt111

owed by the debtor before such transfer was made, (iii) made while the debtor was

insolvent, and (iv) made on or within 90 days before the date of the filing of the

petition.112 Case law in this jurisdiction makes clear that when there are multiple

debtors in the case, to plead a preference claim the trustee must identify the specific

debtor that made the allegedly preferential transfer.113

          Here, Miller attached exhibits to his complaint, listing each Defendant, the

date of the payment subject to preferential treatment, and the amount.114 Those

exhibits, however, do not identify the particular debtor that made the transfer. The

complaint accordingly fails to state a claim for a preference. That count will thus be

dismissed without prejudice.




11111 U.S.C. § 547(b)(1)(2). An antecedent debt is a debt that was incurred before the transfer
of payment from the debtor. In re US Digital, Inc., 443 B.R. 22, 35 (Bankr. D. Del. 2011).
112   § 547(b)(3)-(4).
113In re Pennysaver USA Publ’g, LLC, 602 B.R. 256, 274 (Bankr. D. Del. 2019) (citing In re
Tweeter Opco, 452 B.R. 150, 154 (Bankr. D. Del. 2011) (“Because there is more than one
debtor, in this case, the Court concludes that the Trustee must identify the transferor
precisely by name.”).
114   See D.I. 1 Exh. G–J.

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       B.     The complaint also fails to allege that the trustee conducted
              “reasonable due diligence.”

       The defendants also argue that the complaint fails to allege that Miller

conducted reasonable due diligence into potential affirmative defenses, as required

by the 2019 amendments to section 547(b) under the Small Business Reorganization

Act.115 While the provision contains scant legislative history, the purpose of the

provision is easy enough to discern. As a general proposition, plaintiffs are required

under Rule 11 to have a good faith basis to believe, after a reasonable investigation,

that they can prove the elements of a prima facie case. But even where a defendant’s

affirmative defense is obviously available, nothing in the federal rules by their terms

bars a plaintiff from filing suit – the traditional theory being that defendants bear

the burden of proving an affirmative defense, and a plaintiff that is able to establish

its prima facie case is therefore entitled to hold the defendant to its burden of pleading

and proving such a defense.116

       As a practical matter, however, this led to a practice in which trustees would

sometimes assert preference actions against every defendant that received a payment

on account of an antecedent debt within the 90 days before bankruptcy without

regard for the availability of obvious affirmative defenses like ordinary course of




115 See 11 U.S.C. § 547(b) (“[t]he trustee may, based on reasonable due diligence in the
circumstances of the case and taking into account a party’s known or reasonably knowable
affirmative defenses under subsection (c), avoid any transfer of an interest of the debtor in
property . . .”).
116See generally Perry v. Merit Sys. Protection Bd., 137 S. Ct. 1975, 1986 n.9 (2017) (plaintiff
is not required to “anticipate and negate [a potentially available affirmative defense] in her
pleading”).

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business, contemporaneous exchange, or new value. Such lawsuits would impose

burden and expense on defendants even where the claims were subject to a clear and

meritorious affirmative defense. The 2019 amendment to section 547 appears to be

a response to that practice, imposing an obligation on trustees (not typically borne by

plaintiffs) to assess the availability of an affirmative defense before filing suit.117

       Bankruptcy courts are divided on the question whether this statutory language

adds an element to a preference claim that must be sufficiently alleged in the

complaint and proven at trial.118 In view of the fact that the Court will dismiss the

preference claim without prejudice for the reasons described above, it is not necessary

for the Court to resolve this question in connection with the current motion.




117See David S. Forsh et al., New Bankruptcy Amendments Lower the Burdens of Preference
Actions on Defendants, Vol. 16 Pratt’s Journal of Bankruptcy Law 1, 3 (2021) (explaining that
this new requirement is likely to discourage the practice of filing preference actions against
every entity that received a prebankruptcy transfer); Brook E. Gotberg, Poking at Preference
Actions: SBRA Amendments Signal the Need for Change, 28 Am. Bankr. Inst. L. Rev. 285,
295 (2020) (describing how the reasonable due diligence requirement should operate to
prevent trustees from filing of preference actions with only nuisance value).
118 See In re Insys Therapeutics, Inc., No. 19-11292 (JTD), 2021 Bankr. LEXIS 2965, at *8
(Bankr. D. Del. Oct. 28, 2021) (concluding that although the purpose of the reasonable due
diligence language was susceptible to more than one interpretation, there was no need to rule
on the interpretative issue because the trustee adequately pled due diligence in his
complaint); see also In re Reagor-Dykes Motors, LP, No. 20-05038 (RLJ), 2021 Bankr. LEXIS
1643, at *14 (Bankr. N.D. Tex. Jun. 18, 2021) (explaining that the court need not decide
whether the due diligence language created an additional element but emphasizing that a
trustee must exercise a certain level of due diligence before bringing a preference action); see
also, In re Trailhead Eng’g LLC, No. 20-3094 (EVR), 2020 Bankr. LEXIS 3547, at *17 (S.D.
Tex. Dec. 21, 2020) (declining to conclude whether the due diligence language created an
additional element and deciding that the court had discretion to apply the requirement based
on what the complaint alleged); but see In re ECS Ref., Inc., 625 B.R. 425, 453–454 (Bankr.
E.D. Cal. Dec. 15, 2020) (determining that the due diligence language created a condition
precedent that must be met prior to bringing a preference claim).

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                                      Conclusion

      For the reasons set forth above, the motion will be granted except for (a) the

claims for breach of fiduciary duty against those defendants who are alleged to have

served as directors or officers of a Delaware-incorporated entity in the period

beginning three years before the petition date and those who are alleged to have

served as directors of officers of a Pennsylvania-incorporated entity in the period

beginning two years before the petition date; (b) the claim for civil conspiracy against

the same defendants; and (c) the claims for constructive fraudulent conveyance. The

remaining claims will be dismissed without prejudice to being replead. The trustee

is directed to settle an order, on notice to all defendants, so providing.




Dated: January 12, 2022
                                          CRAIG T. GOLDBLATT
                                          UNITED STATES BANKRUPTCY JUDGE




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